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 8                             UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10                              (HONORABLE RUBEN B. BROOKS)
11
     UNITED STATES OF AMERICA,              )   No. 06CR2353-L
12                                          )
                Plaintiff,                  )
13                                          )   ORDER GRANTING JOINT
                v.                          )   MOTION TO REMOVE GPS
14                                          )   MONITORING EQUIPMENT
                                            )
15 FERNANDO OSUNA,                          )
                                            )
16              Defendant.                  )
                                            )
17

18              It is hereby ORDERED that the GPS monitoring requirement
19 currently in place as to the above-named defendant be terminated.

20

21 Dated:    March 19, 2007                 ______________________
                                             RUBEN B. BROOKS
22                                           U.S. Magistrate Judge
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